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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
UNTIED STATES OF AMERICA,
      Plaintiff,

v.                                                    Case No. 05-80722-2

BRYAN KILLIAN,                                        Honorable Patrick J. Duggan
     Defendant.
                                       /

                               OPINION AND ORDER

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                          of Michigan, on September 10, 2009.

        PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                           U.S. DISTRICT COURT JUDGE

     Bryan Killian (“Defendant”), a federal prisoner currently incarcerated at the Federal

Correctional Institution in Milan, Michigan, filed a pro se motion under 28 U.S.C. § 2255

challenging the length of his sentence. In the motion, Defendant specifically challenges

the calculation of his criminal history category under the sentencing guidelines. The

government opposes the motion.

     On March 12, 2007, Defendant pleaded guilty to a count of conspiring to distribute

cocaine pursuant to a Rule 11 plea agreement. See Fed. R. Crim. P. 11. On July 9, 2008,

this Court sentenced Defendant to 168 months in prison. On July 9, 2009, Defendant

filed the present motion challenging his sentence. Using a standard form to present his

claims, Defendant’s motion contains the following complaint regarding his sentence:

           Ground One: Counsel was ineffective for not making an objection to
        erroneous applications of sentencing guidelines 4A1.1(c) and
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         4A1.2(c)(1).
            Supporting FACTS (tell your story briefly without citing cases or
         law [sic]: Sentencing guidelines which were imposed resulted to [sic] an
         erroneous application of 4A1.1(c) and 4A1.2(c)(1).

(Def.’s Mot. at 4.) Defendant provides no further explanation of this claim and presents

no other grounds for relief.

     In bringing the present motion, Defendant is required, among other things, to

“specify all the grounds for relief” and “state the facts supporting each ground.” Rules

Governing Section 2255 Proceedings 2(b). It is not this Court’s function to craft

Defendant’s arguments for him. See United States v. Phibbs, 999 F.2d 1053, 1080 n.12

(6th Cir. 1993); see also United States v. Dunkel, 927 F.2d 955, 956 (7th Cir.1991)

(“Judges are not like pigs, hunting for truffles buried in briefs.”). Having reviewed

Defendant’s motion, Defendant’s presentencing report, and the relevant sentencing

guidelines, the Court has been unable to identify any errors that would justify the

requested relief. Therefore, Defendant’s motion must be denied.

     Accordingly,

     IT IS ORDERED that Defendant’s 28 U.S.C. § 2255 Motion is DENIED.

     A judgment consistent with this opinion shall issue.

                                          s/PATRICK J. DUGGAN
                                          UNITED STATES DISTRICT JUDGE
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